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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK

   __________________________________________
                                               )
   BARBARA SCHWAB, et al., individually and )
   on behalf of all others similarly situated, )
                                               )
                  Plaintiffs,                  )
                                               )
         v.                                    ) No. 1:04-cv-1945 (JBW)(SMG)
                                               )
   PHILIP MORRIS USA, INC., et al.,            )
                                               )
                  Defendants.                  )
   __________________________________________)

               NOTICE OF DEFENDANTS’ DAUBERT MOTION TO EXCLUDE
                      THE TESTIMONY OF DR. JOHN R. HAUSER

          Defendants Philip Morris USA, Inc.; Altria Group, Inc.; R.J. Reynolds Tobacco

   Company; Brown & Williamson Holdings (f/k/a Brown & Williamson Tobacco Corporation),

   individually and as successor by merger to The American Tobacco Company; Lorillard Tobacco

   Company; and British American Tobacco (Investments) Limited hereby move, pursuant to

   Federal Rules of Evidence 403 and 702, to exclude the testimony and opinions of Dr. John R.

   Hauser from evidence.

          This motion is based on the following: the accompanying Memorandum of Law in

   Support of Defendants’ Daubert Motion to Exclude the Testimony of Dr. John R. Hauser; the

   Declaration of Arthur J. Margulies, dated June 9, 2006, and the exhibits annexed thereto

   (attached hereto); and on all the prior proceedings and matters of record in this case.
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   Dated:     June 9, 2006

                                      Respectfully submitted,




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                                      Williamson Tobacco Corporation), individually and
                                      as successor by merger to The American Tobacco
                                      Company

                                      and on behalf of all Defendants, counsel for whom
                                      is listed on the following page




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                                 CERTIFICATE OF SERVICE

          The foregoing NOTICE OF DEFENDANTS’ DAUBERT MOTION TO EXCLUDE THE

   TESTIMONY OF DR. JOHN R. HAUSER and the attached DECLARATION OF ARTHUR J.

   MARGULIES, dated June 9, 2006, and the exhibits annexed thereto, were served on all counsel

   of record on June 9, 2006 by electronic mail through the Court’s CM/ECF system.




                                              Todd R. Geremia
